                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


  ALIGN TECHNOLOGY, INC.,

  Plaintiff,
                                                    Civil Action No. 6:24-cv-00187-ADA-DTG
  v.
                                                    JURY TRIAL DEMANDED
  CLEARCORRECT OPERATING, LLC,
  CLEARCORRECT HOLDINGS, INC.,
  & INSTITUT STRAUMANN AG,

  Defendants.

  CLEARCORRECT OPERATING, LLC,
  CLEARCORRECT HOLDINGS, INC.,
  & STRAUMANN USA, LLC,

  Counterclaim-Plaintiffs,

  v.

  ALIGN TECHNOLOGY, INC.,

  Counterclaim-Defendant.


        DEFENDANT INSTITUT STRAUMANN AG’S UNOPPOSED MOTION

       Defendant Institut Straumann AG (“Institut Straumann”) respectfully brings this

unopposed motion for leave to join Defendants ClearCorrect Operating, LLC, and

ClearCorrect Holdings, Inc.’s (collectively “ClearCorrect”) pending motion to dismiss for

failure to state a claim under Fed. R. Civ. P. 12(b)(6). (Dkt. 31)

       Institut Straumann further moves for leave to withdraw its pending Motion to

Dismiss Based on Lack of Personal Jurisdiction (Dkt. 30). In light of changed circumstances

specific to the above-captioned litigation since the filing of the motion, Institut Straumann

AG will no longer contest that specific personal jurisdiction is proper in this case, given the

nature of the claims, defenses, and counterclaims in this particular case. Institut Straumann


                                                1
reserves the right to contest personal jurisdiction in other cases involving different claims

and defenses.

       Plaintiff Align does not oppose this motion.

       For the reasons set forth herein, Institut Straumann’s Unopposed Motion should be

granted.



Dated: August 20, 2024                             Respectfully submitted,

                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith
                                                   Texas Bar No. 24001351
                                                   melissa@gillamsmithlaw.com
                                                   GILLAM AND SMITH, LLP
                                                   303 South Washington Avenue
                                                   Marshall, TX 75670
                                                   (903) 934-8450
                                                   Fax: (903)934-9257

                                                   Joseph J. Mueller
                                                   Vinita Ferrera
                                                   Mark A. Ford
                                                   Marissa A. Lalli
                                                   Holly A. Ovington
                                                   Tyler L. Shearer
                                                   WILMER CUTLER PICKERING HALE AND
                                                     DORR LLP
                                                   60 State Street
                                                   Boston, MA 02109
                                                   (617) 526-6000
                                                   joseph.mueller@wilmerhale.com
                                                   vinita.ferrera@wilmerhale.commailto:
                                                   mark.ford@wilmerhale.com
                                                   marissa.lalli@wilmerhale.com
                                                   holly.ovington@wilmerhale.com
                                                   tyler.shearer@wilmerhale.com


                                                   Omar A. Khan
                                                   WILMER CUTLER PICKERING HALE AND
                                                     DORR LLP
                                                   250 Greenwich Street
                                                   New York, NY 10007
                                                   (212) 230-8800
                                                   omar.khan@wilmerhale.com

                                               2
                                                    Gerard A. Salvatore
                                                    Robert B. Stiller
                                                    WILMER CUTLER PICKERING HALE AND
                                                      DORR LLP
                                                    2100 Pennsylvania Avenue, NW
                                                    Washington, DC 20037
                                                    (202) 663-6000
                                                    jerry.salvatore@wilmerhale.com
                                                    robert.stiller@wilmerhale.com

                                                    Hannah Santasawatkul
                                                    Texas State Bar No. 24107617
                                                    WILMER CUTLER PICKERING HALE AND
                                                      DORR LLP
                                                    1225 17th Street, Suite 2600
                                                    Denver, Colorado 80202
                                                    (720) 274-3135
                                                    hannah.santasawatkul@wilmerhale.com




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM/ECF system on August 20, 2024.

                                                              /s/ Melissa R. Smith
                                                              Melissa R. Smith


                            CERTIFICATE OF CONFERENCE

       Counsel for Defendant met and conferred with counsel for Plaintiff, and counsel for

Plaintiff indicated that Plaintiff does not oppose the relief sought by this Motion.


                                                              /s/ Melissa R. Smith
                                                              Melissa R. Smith




                                                3
